Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 1 of 23 PageID# 7
      Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 2 of 23 PageID# 8

                              COMMONWEALTH OF VIRGINIA




                                     PORTSMOUTH CIRCUIT COURT
                                             Civil Division
                                         1345 COURT STREET
                                          PORTSMOUTH VA
                                            (757) 393-8671

                                                Summons


        To: QUEEN OF VIRGINIA SKILL & ENTE                              Case No. ~40CL22001902-00
            GUY M. HARBERT, III ESQUIRE
            REGISTERED AGENT
            10 FRANKLIN RD. SE.
            SUITE 900
            ROANOKE VA 24011

        The party upon whom this summons and the attached complaint are served is hereby notified
        that unless within 21 days after such service, response is made by filing in the clerk's office
        of this court a pleading in writing, in proper legal form, the allegations and charges may be
        taken as admitted and the court may enter an order, judgment, or decree against such party
        either by default or after hearing evidence.
        Appearance in person is not required by this summons.

        Done in the name of the Commonwealth of Virginia on,Monday, Apri125, 2022

         Clerk of Court: CYNTHIA P. MORRISON


                                by
                                                       (~£{~/DEPUTY


   Instructions:



Hearing Official:




                    SLAVEN, RONALD D; JR
Attorney's name:
      Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 3 of 23 PageID# 9

                               COMMONWEALTH OF VIRGINIA




                                      PORTSMOUTH CIRCUIT COURT
                                              Civil Division
                                          1345 COURT STREET
                                           PORTSMOUTH VA
                                             (757) 393-8671

                                                 Summons


         To: POM OF VIRGINIA, LLC                                        Case No. ~40CL22001902-00
             GUY M. HARBERT, III ESQUIRE
             REGISTERED AGENT
             10 FRANKLIN RD. SE.
             SUITE 900
             ROANOKE VA 24011

         The party upon whom this summons and the attached complaint are served is hereby notified
         that unless within 21 days after such service, response is made by filing in the clerk's office
         of this court a pleading in writing, in proper legal form, the allegations and charges may be
         taken as admitted and the court may enter an order, judgment, or decree against such party
         either by default or after hearing evidence.
         Appearance in person is not required by this summons.

         Done in the name of the Commonwealth of Virginia on,Monday, Apri125, 2022

         Clerk of Court: CYNTHIA P. MORRISON


                                 by

    Instructions:



Hearing Official:




                    SLAVEN, RONALD D; JR
Attorney's name:
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 4 of 23 PageID# 10
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 5 of 23 PageID# 11
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 6 of 23 PageID# 12
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 7 of 23 PageID# 13
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 8 of 23 PageID# 14
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 9 of 23 PageID# 15
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 10 of 23 PageID# 16
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 11 of 23 PageID# 17
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 12 of 23 PageID# 18
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 13 of 23 PageID# 19
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 14 of 23 PageID# 20
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 15 of 23 PageID# 21
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 16 of 23 PageID# 22
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 17 of 23 PageID# 23
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 18 of 23 PageID# 24
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 19 of 23 PageID# 25
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 20 of 23 PageID# 26
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 21 of 23 PageID# 27
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 22 of 23 PageID# 28
Case 2:22-cv-00227-RBS-RJK Document 1-1 Filed 05/31/22 Page 23 of 23 PageID# 29
